

Matter of Babb v Venettozzi (2017 NY Slip Op 08773)





Matter of Babb v Venettozzi


2017 NY Slip Op 08773


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

524640

[*1]In the Matter of AUSTIN BABB, Petitioner,
vDONALD VENETTOZZI, as Acting Director of Special Housing and Inmate Disciplinary Programs, Respondent.

Calendar Date: October 24, 2017

Before: Peters, P.J., Garry, Rose, Mulvey and Pritzker, JJ.


Austin Babb, Elmira, petitioner pro se.
Eric T. Schneiderman, Attorney General, Albany (Martin A. Hotvet of counsel), for respondent.



MEMORANDUM AND JUDGMENT
Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of the Commissioner of Corrections and Community Supervision finding petitioner guilty of violating certain prison disciplinary rules.
Determination confirmed. No opinion.
Peters, P.J., Garry, Rose, Mulvey and Pritzker, JJ., concur.
ADJUDGED that the determination is confirmed, without costs, and petition dismissed.








